Cer arenes
“ILED NEAT
ee! et ———___ ENTERED

_IEED Renna)

 

MAR 2 9 2022

, KOG/PMC 2021R0285

IN THE UNITED STATES DISTRICT COURT ERK US, OSTRIGT COUR:
FOR THE DISTRICT OF MARYLAND w

Cio
cnc BO D STATES OF AMERICA * er 2 2 -

9? MAR 25 Px2:38

Vv. m
(Willful Transmission of National Defense
MARK ROBERT UNKENHOLZ, * Information, 18 U.S.C. §793(d); Willful
Retention of National Defense Information,
Defendant. * 18 U.S.C. §793(e))

* UNDER SEAL

...00Q000...
INDICTMENT

COUNTS ONE THROUGH THIRTEEN
(Willful Transmission of National Defense Information)

The Grand Jury for the District of Maryland charges:
Introduction

At all times relevant to this Indictment:

1. The defendant, MARK ROBERT UNKENHOLZ (“UNKENHOLZ”), was an
employee of the National Security Agency (“NSA”). UNKENHOLZ worked for an office within
NSA that was responsible for NSA’s engagement with private industry.

Des Pursuant to Executive Order 12958 signed on April 17, 1995, as amended by
Executive Order 13292 on March 25, 2003, and Executive Order 13526 on December 29, 2009,
national security information was classified as “TOP SECRET,” “SECRET,” or
“CONFIDENTIAL.” National security information was information owned by, produced by,
produced for, and under the control of the United States government that was classified as

follows:
a. Information was classified as TOP SECRET if the unauthorized disclosure of
that information reasonably could be expected to cause exceptionally grave
damage to the national security that the original classification authority was able
to identify and describe.

b. Information was classified as SECRET if the unauthorized disclosure of that
information reasonably could be expected to cause serious damage to the national
security that the original classification authority was able to identify and
describe.

c. Information was classified as CONFIDENTIAL if the unauthorized disclosure
of that information reasonably could be expected to cause damage to the national
security that the original classification authority was able to identify and
describe.

3. Access to national security information classified at any level could be further
restricted through TOP SECRET/SENSITIVE COMPARTMENTED INFORMATION (“SCI”)
categories. Only individuals with the appropriate security clearance and additional SCI permissions
could have authorized access to such classified national security information.

4, Classified information, including SCI, was marked according to its classification and
applicable SCI compartments, following standard formats for different types of media, including
headers and footers stating the highest classification level and SCI compartments of information a
document contained and individual classifications markings for each paragraph.

5. Information classified at any level could only be lawfully accessed by persons
determined by an appropriate United States government official to be eligible for access to
classified information, who had signed an approved non-disclosure agreement, who received a
security clearance, and who had a “need to know” the classified information. Classified
information could only be stored in an approved facility and container.

6. UNKENHOLZ held a TOP SECRET/SENSITIVE COMPARTMENTED

INFORMATION (“SCI”) security clearance and had lawful access to classified information
relating to the national defense that was closely held by the government (“National Defense
Information” or “NDI’”).

7. From approximately April 2016 until approximately June 2019, R.F. was employed
by COMPANY 1 and held a TOP SECRET/SCI security clearance. While employed at
COMPANY 1, R.F. was the user of a specific COMPANY 1 email address (“COMPANY 1
EMAIL ADDRESS”). After June 2019, R.F. was not authorized to access or receive classified
information or NDI.

8. From approximately July 2019 until approximately January 2021, R.F. was
employed by COMPANY 2 and did not hold a security clearance. While employed at COMPANY
2, R.F. was the user of a specific COMPANY 2 email address (“COMPANY 2 EMAIL
ADDRESS”).

9. UNKENHOLZ was the user of a specific private email address (“PERSONAL

EMAIL ADDRESS”).

10. PERSONAL EMAIL ADDRESS, COMPANY 1 EMAIL ADDRESS, and
COMPANY 2 EMAIL ADDRESS were not authorized locations for the storage of classified
information or NDI. UNKENHOLZ was not authorized to send R.F. classified information or
NDI using his PERSONAL EMAIL ADDRESS, nor was R.F. ever authorized to receive it at her
COMPANY 1 EMAIL ADDRESS or COMPANY 2 EMAIL ADDRESS.

The Charges
11. On or about the dates indicated, in the District of Maryland and elsewhere,
MARK ROBERT UNKENHOLZ,
the defendant, lawfully having possession of, access to, and control over information relating to

the national defense, which information the defendant had reason to believe could be used to the
injury of the United States or to the advantage of any foreign nation, willfully communicated and
transmitted the same to a person not entitled to receive it, to wit: as indicated in the below
Counts, UNKENHOLZ communicated and transmitted the classified NDI to R.F. via his

PERSONAL EMAIL ADDRESS:

 

 

COUNT DATE COMMUNICATION CLASSIFICATION
OF NDI
l February 14,2018 | UNKENHOLZ PERSONAL SECRET

EMAIL ADDRESS to R.F.’s
COMPANY | EMAIL ADDRESS

 

Z April 21, 2018 UNKENHOLZ PERSONAL SECRET
EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS

 

3 May 13, 2018 UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R-F.’s
COMPANY 1 EMAIL ADDRESS

 

4 May 20, 2018 UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS

 

5 August 31,2018 | UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS

 

6 March 21, 2019 UNKENHOLZ PERSONAL SECRET
EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS

 

7 August 9, 2019 UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

 

8 August 29,2019 | UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

 

 

9 January 22,2020 | UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

10 January 29,2020 | UNKENHOLZ PERSONAL TOP SECRET/SCI

EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

 

 

1] March 9, 2020 UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

12 April 21, 2020 UNKENHOLZ PERSONAL TOP SECRET/SCI

EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

 

 

 

 

 

 

4
 

 

13

 

June 1, 2020

 

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

 

TOP SECRET/SCI

 

18 U.S.C. § 793(d).

 
The Grand Jury for the District of Maryland further charges that:

1.

COUNTS FOURTEEN THROUGH TWENTY-SIX

(Willful Retention of National Defense Information)

Paragraphs | through 10 of Count One are realleged and incorporated by reference

as though fully set forth in these Counts.

2.

On or about the dates indicated, in the District of Maryland and elsewhere,

MARK ROBERT UNKENHOLZ,

the defendant, having unauthorized possession of, access to, and control over information relating

to the national defense, which information the defendant had reason to believe could be used to

the injury of the United States or to the advantage of any foreign nation, willfully retained the

information and failed to deliver it to the officer or employee of the United States entitled to

receive it, to wit: as indicated below, UNKENHOLZ retained the classified NDI contained in

email communications to R.F. within his PERSONAL EMAIL ADDRESS:

 

 

 

 

 

 

 

COUNT DATE COMMUNICATION CLASSIFICATION
OF NDI
14 February 14,2018 | UNKENHOLZ PERSONAL SECRET
EMAIL ADDRESS to R.F.’s
COMPANY | EMAIL ADDRESS
15 April 21, 2018 UNKENHOLZ PERSONAL SECRET
EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS
16 May 13, 2018 UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS
17 May 20, 2018 UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS
18 August 31,2018 | UNKENHOLZ PERSONAL TOP SECRET/SCI
EMAIL ADDRESS to R.F.’s
COMPANY | EMAIL ADDRESS
19 March 21, 2019 UNKENHOLZ PERSONAL SECRET

 

 

 

EMAIL ADDRESS to R.F.’s
COMPANY 1 EMAIL ADDRESS

 

 

 
 

20 August 9, 2019

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

TOP SECRET/SCI

 

21 August 29, 2019

 

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

TOP SECRET/SCI

 

22 January 22, 2020

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

TOP SECRET/SCI

 

25 January 29, 2020

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

TOP SECRET/SCI

 

24 March 9, 2020

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

TOP SECRET/SCI

 

25 April 21, 2020

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

TOP SECRET/SCI

 

26 June 1, 2020

 

 

 

UNKENHOLZ PERSONAL
EMAIL ADDRESS to R.F.’s
COMPANY 2 EMAIL ADDRESS

 

TOP SECRET/SCI

 

18 U.S.C. § 793(e).

A TRUE BILL:

SIGNATURE REDACTED

Pwo peLovTr

dd anv, fi

Erek L. Barron

United States Attorney

3/AG/AODP~

Date

 
